22-10964-mg        Doc 3279        Filed 08/14/23 Entered 08/14/23 12:19:11                    Main Document
                                               Pg 1 of 23



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Counsel to the Examiner

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

In re                                                              Chapter 11
CELSIUS NETWORK LLC, et al.1                                       Case No. 22-10964 (MG)
                                   Debtors.
                                                                    (Jointly Administered)


          SIXTH MONTHLY FEE STATEMENT OF JENNER & BLOCK LLP FOR
          PROFESSIONAL SERVICES RENDERED AND REIMBURSEMENT OF
             EXPENSES INCURRED AS ATTORNEYS FOR EXAMINER FOR
              THE PERIOD OF MARCH 1, 2023 THROUGH MARCH 31, 2023

    Name of applicant:                                        Jenner & Block LLP

    Authorized to provide professional services to:           Shoba Pillay, Examiner
    Date of retention order:                                  November 1, 2022 (effective as of
                                                              September 29, 2022)
    Period for which compensation and                         March 1, 2023 through March 31, 2023
    reimbursement are sought:


1
 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number are: Celsius Network LLC (2148); Celsius KeyFi LLC (4414); Celsius Lending LLC (8417); Celsius Mining
LLC (1387); Celsius Network Inc. (1219); Celsius Network Limited (8554); Celsius Networks Lending LLC (3390);
Celsius US Holding LLC (7956); GK8 Ltd. (1209); GK8 UK Ltd. (0893); and GK8 USA LLC (9450). The location
of Debtor Celsius Network LLC’s principal place of business and the Debtors’ service address in these chapter 11
cases is 121 River Street, PH05, Hoboken, New Jersey 07030.
22-10964-mg          Doc 3279      Filed 08/14/23 Entered 08/14/23 12:19:11                     Main Document
                                               Pg 2 of 23



    Fees Incurred:                                            $108,086.00

    20% Holdback:                                             $21,617.20

    Total Compensation Less 20% Holdback:                     $86,468.80

    Total Expenses Incurred:                                  $49,478.48

    Total Fees and Expenses Requested:                        $135,947.28

    Type of fee statement or application                      Monthly Fee Statement2


          Jenner & Block LLP (“Jenner & Block”), counsel to the Examiner to, hereby submits this

statement of fees and disbursements (the “Fee Statement”) covering the period from March 1,

2023 through and including March 31, 2023 (the “Fee Period”) in accordance with sections 327,

330, and 331 of title 11 of the United States Code, Rule 2016 of the Federal Rules of Bankruptcy

Procedure, Rule 2016-1 of the Local Bankruptcy Rules for the United States Bankruptcy Court for

the Southern District of New York, and the First Amended Order (I) Establishing Procedures for

Interim Compensation and Reimbursement of Expenses for Retained Professionals and (II)

Granting Related Relief, dated August 17, 2022 [Dkt. 1745] (“Interim Compensation Order”).

By this Fee Statement, and after taking into account certain voluntary discounts and reductions,

Jenner & Block requests (a) interim allowance of $108,086.00 for the reasonable compensation

for actual, necessary legal services that Jenner & Block rendered to the Examiner during the Fee

Period; (ii) compensation in the amount of $86,468.80, equal to 80% of the total amount of

reasonable compensation for actual, necessary legal services that Jenner & Block rendered to the

Examiner during the Fee Period; and (iii) allowance and payment of $49,478.48 for the actual and




2
  Notice of this Monthly Fee Statement shall be served in accordance with the Interim Compensation Order (as defined
herein) and objections to payment of the amounts described in this Monthly Fee Statement shall be addressed in
accordance with the Interim Compensation Order.



                                                         2
22-10964-mg        Doc 3279    Filed 08/14/23 Entered 08/14/23 12:19:11            Main Document
                                           Pg 3 of 23



necessary costs and expenses that Jenner & Block incurred in connection with such services during

the Fee Period.

                  Itemization of Services Rendered and Disbursements Incurred

       1.      Exhibit A is a schedule of the number of hours expended and fees incurred (on an

aggregate basis) by Jenner & Block with respect to each project category that Jenner & Block

established in accordance with its internal billing procedures. As reflected in Exhibit A, Jenner &

Block incurred $108,086.00 in fees during the Fee Period. Jenner & Block seeks payment of 80%

of such fees (i.e., $86,468.80 in the aggregate).

       2.      Exhibit B is a schedule of Jenner attorneys and paraprofessionals including the

standard hourly rate for each attorney and paraprofessional who rendered services to the Examiner

in connection with these chapter 11 cases during the Fee Period and the title, hourly rate, aggregate

hours worked, and the amount of fees attributed to each attorney and paraprofessional. The blended

hourly billing rate of attorneys for all services provided during the Fee Period is $1,293.57. The

blended hourly billing rate of all paraprofessionals is $557.37.

       3.      Exhibit C is a schedule for the Fee Period setting forth the total amount of payment

sought with respect to each category of expenses for which Jenner & Block is seeking payment in

this Fee Statement. These disbursements total $49,478.48.

       4.      Exhibits D contains Jenner & Block’s detailed time records, which provide a daily

summary of the time spent by each Jenner & Block professional and paraprofessional during the

Fee Period as well as an itemization of expenses by project category.

       5.      Jenner & Block will provide notice of this Fee Statement in accordance with the

Interim Compensation Order. A copy of this Fee Statement is also available on the website of the




                                                    3
22-10964-mg      Doc 3279     Filed 08/14/23 Entered 08/14/23 12:19:11             Main Document
                                          Pg 4 of 23



Debtors’ solicitation agent at https://cases.stretto.com/celsius. Jenner & Block submits that no

other or further notice need be given.

       6.      Objections to this Fee Statement, if any, must be filed with the Court and served so

as to be received no later than August 28, 2023 at 12:00 p.m. (Eastern Daylight Time) (the

“Objection Deadline”) and shall set forth the nature of the objection and the amount of fees or

expenses at issue.

       7.      If no objections to this Fee Statement are filed and served as set forth above, the

Debtors shall promptly pay eighty percent (80%) of the fees and one hundred percent (100%) of

the expenses identified herein.

       8.      If an objection to this Fee Statement is received on or before the Objection

Deadline, the Debtors shall withhold payment of that portion of this Fee Statement to which the

objection is directed and promptly pay the remainder of the fees and disbursements in the

percentages set forth above. To the extent such an objection is not resolved, it shall be preserved

and scheduled for consideration at the next interim fee application hearing to be held by the Court.

                                    (Signature page follows.)




                                                 4
22-10964-mg    Doc 3279   Filed 08/14/23 Entered 08/14/23 12:19:11       Main Document
                                      Pg 5 of 23



Dated: August 14, 2023                Respectfully submitted,

                                      JENNER & BLOCK LLP

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                                      Counsel to the Examiner




                                         5
22-10964-mg   Doc 3279     Filed 08/14/23 Entered 08/14/23 12:19:11     Main Document
                                       Pg 6 of 23



                                      Exhibit A
                             PROJECT CATEGORY SUMMARY

                         Matter                       Total Billed      Total Fees
                                                        Hours
    CELSIUS EXAMINER                                             3.00     $4,770.00
    CASE ADMINISTRATION                                         12.80    $14,847.00
    REPORT PREPARATION AND DRAFTING                             60.50    $39,739.50
    BILLING AND FEE APPLICATIONS                                29.80    $39,405.50
    COMMUNICATIONS WITH PARTIES IN INTEREST                      9.10     $9,324.00
    Sub-Total*                                                115.20    $108,086.00
    Less 50% Discount on Non-Working Travel                                    N/A
    Total                                                               $108,086.00




                                         6
22-10964-mg     Doc 3279           Filed 08/14/23 Entered 08/14/23 12:19:11                  Main Document
                                               Pg 7 of 23



                                            Exhibit B
                                       SUMMARY BY TIMEKEEPER

       Name of             Title       Year       Department         Hourly      Total     Total Fees
       Professional                    Admitted                      Billing     Billed    Requested
                                                                      Rate       Hours
                                                                     (2023)
       CATHERINE L.        Partner     1982       Restructuring &    $2,130.00      1.50     $3,195.00
       STEEGE                                     Bankruptcy
       VINCENT E.          Partner     1990       Restructuring &    $1,735.00      2.20     $3,817.00
       LAZAR                                      Bankruptcy
       SHOBA PILLAY        Partner     2003       Data Privacy and   $1,590.00      3.00     $4,770.00
                                                  Cybersecurity
       MELISSA M.          Partner     2003       Restructuring &    $1,430.00     21.50    $30,745.00
       ROOT                                       Bankruptcy
       LANDON S.           Partner     2008       Restructuring &    $1,290.00      2.40     $3,096.00
       RAIFORD                                    Bankruptcy
       AARON R.            Partner     2011       Investigations,    $1,240.00      2.30     $2,852.00
       COOPER                                     Compliance &
                                                  Defense
       CARL N.             Special     2010       Restructuring &    $1,195.00     16.00    $19,120.00
       WEDOFF              Counsel                Bankruptcy
       LAURA E.            Special     2004       Litigation          $990.00       5.00     $4,950.00
       PELANEK             Counsel
       SARA M.             Associate   2019       Investigations,    $1,050.00      1.00     $1,050.00
       STAPPERT                                   Compliance &
                                                  Defense
       NICHOLAS S.         Associate   2022       Litigation          $745.00       4.70     $3,501.50
       JOHN
       DANIEL O.           Senior      N/A                            $590.00      23.40    $13,806.00
       GARCIA              Paralegal
       DEBRA E.            Senior      N/A                            $590.00       5.00     $2,950.00
       ABELSON             Paralegal
       CHERYL J. KRAS      Senior      N/A                            $590.00       5.70     $3,363.00
                           Paralegal
       JESSICA M.          Senior      N/A                            $590.00       7.30     $4,307.00
       MERKOURIS           Paralegal
       CHRISTOPHER R.      Senior      N/A                            $590.00       3.50     $2,065.00
       WARD                Paralegal
       KELSEY              Paralegal   N/A                            $505.00       2.70     $1,363.50
       HYUNJEE CHOI
       SAM A. ROSEN        Paralegal   N/A                            $505.00       3.00     $1,515.00
       ADAM H.             Paralegal   N/A                            $320.00       4.80     $1,536.00
       WEIDMAN
       JAMES P. WALSH      Senior      N/A                            $420.00       0.20        $84.00
                           Research
                           Librarian
          Sub-Total*                                                              115.20   $108,086.00
       Less 50% Discount
       on Non-working
       Travel Matter
       Total                                                                      115.20   $108,086.00
22-10964-mg   Doc 3279       Filed 08/14/23 Entered 08/14/23 12:19:11   Main Document
                                         Pg 8 of 23



                                          Exhibit C
                                      EXPENSE SUMMARY

                             Service Description          Amount
                B&W Copy                                  $33.11
                Color Copy                                 $0.25
                Travel                                   $1,052.72
                Other Professional Services              $48,392.40
                TOTAL                                    $49,478.48
22-10964-mg   Doc 3279   Filed 08/14/23 Entered 08/14/23 12:19:11   Main Document
                                     Pg 9 of 23



                                    Exhibit D
                             TIME AND EXPENSE DETAIL
22-10964-mg   Doc 3279   Filed 08/14/23 Entered 08/14/23 12:19:11   Main Document
                                    Pg 10 of 23
22-10964-mg   Doc 3279   Filed 08/14/23 Entered 08/14/23 12:19:11   Main Document
                                    Pg 11 of 23
22-10964-mg   Doc 3279   Filed 08/14/23 Entered 08/14/23 12:19:11   Main Document
                                    Pg 12 of 23
22-10964-mg   Doc 3279   Filed 08/14/23 Entered 08/14/23 12:19:11   Main Document
                                    Pg 13 of 23
22-10964-mg   Doc 3279   Filed 08/14/23 Entered 08/14/23 12:19:11   Main Document
                                    Pg 14 of 23
22-10964-mg   Doc 3279   Filed 08/14/23 Entered 08/14/23 12:19:11   Main Document
                                    Pg 15 of 23
22-10964-mg   Doc 3279   Filed 08/14/23 Entered 08/14/23 12:19:11   Main Document
                                    Pg 16 of 23
22-10964-mg   Doc 3279   Filed 08/14/23 Entered 08/14/23 12:19:11   Main Document
                                    Pg 17 of 23
22-10964-mg   Doc 3279   Filed 08/14/23 Entered 08/14/23 12:19:11   Main Document
                                    Pg 18 of 23
22-10964-mg   Doc 3279   Filed 08/14/23 Entered 08/14/23 12:19:11   Main Document
                                    Pg 19 of 23
22-10964-mg   Doc 3279   Filed 08/14/23 Entered 08/14/23 12:19:11   Main Document
                                    Pg 20 of 23
22-10964-mg   Doc 3279   Filed 08/14/23 Entered 08/14/23 12:19:11   Main Document
                                    Pg 21 of 23
22-10964-mg   Doc 3279   Filed 08/14/23 Entered 08/14/23 12:19:11   Main Document
                                    Pg 22 of 23
22-10964-mg   Doc 3279   Filed 08/14/23 Entered 08/14/23 12:19:11   Main Document
                                    Pg 23 of 23
